Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 1 of 31 Page ID
                                 #:2441



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11
12                        UNITED STATES DISTRICT COURT

13           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
15 DOE;                                    Case No. 2:20-cv-06098 JAK (AGRx)
16
        Plaintiff,                      DEFENDANT UNIVERSITY OF
17                                      SOUTHERN CALIFORNIA’S
18    v.                                MEMORANDUM OF POINTS AND
                                        AUTHORITIES IN SUPPORT OF ITS
19   UNIVERSITY OF SOUTHERN             MOTION TO COMPEL
20   CALIFORNIA, a California Not-for- ARBITRATION OF PLAINTIFF’S
     Profit Corporation; DOES 1 through FIRST AMENDED COMPLAINT AND
21   20.                                TO DISMISS OR STAY ACTION
22
        Defendants.                        Date: October 4, 2021
23                                         Time: 8:30 a.m.
24
25
26
27
28
                                              1
             DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                 AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 2 of 31 Page ID
                                 #:2442



 1                                          TABLE OF CONTENTS
 2   I.     INTRODUCTION ......................................................................................... 7
 3   II.    STATEMENT OF FACTS............................................................................ 9
            A.  USC Is A World-Renowned University That Conducts Business
 4              Throughout The Country And The World. ......................................... 9
 5          B.  Doe Electronically Accepted The Agreement. ................................... 9
 6          C.  The Agreement Is Bilateral And Requires The Parties To
                Submit Claims To Arbitration. ......................................................... 11
 7
            D.  Despite Acknowledging That She “Accepted” The Agreement, Doe
 8              Filed Her Claims In Court................................................................. 12
 9   III.   LEGAL ARGUMENT ................................................................................ 12
            A.  The FAA Governs The Agreement. .................................................. 12
10
            B.  The Agreement Is Presumed Valid and Enforceable. ....................... 14
11              1.    Doe Acknowledged Accepting The Agreement And
12                    Is Bound. ................................................................................. 14
                2.    Doe’s Claims Fall Within The Scope of The Agreement. ..... 16
13
            C.  There is No Basis For Revocation Under the FAA Because
14              The Agreement Complies With Armendariz. ................................... 17
15          D.  Doe’s Claim For Rescission Of The Agreement Is Meritless. ......... 19
                1.    There Is No Unconscionability. .............................................. 19
16
                      a.      There Is No Procedural Unconscionability. ................. 20
17                    b.      There Is No Substantive Unconscionability................. 22
18                            (1) There Is Adequate Discovery............................. 22
19                            (2) JAMS Is A Neutral Arbitral Forum. .................. 23
                              (3) The Franken Amendment Is Not A Defense
20
                                         To Arbitration. ................................................... 25
21                            (4) Class and Collective Action Waivers Are
22                                       Permissible. ........................................................ 27
                2.    Doe Cannot Show That Her Consent Was Obtained By
23                    Fraud. ...................................................................................... 27
24              3.    Doe Cannot Show That Enforcing The Agreement Would
25                    Be Prejudicial To The Public Interest..................................... 29
            E.  This Action Should Be Dismissed Or Stayed Pending
26              Arbitration. ........................................................................................ 31
27   IV.    CONCLUSION ........................................................................................... 31
28
                                               2
              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 3 of 31 Page ID
                                 #:2443



 1                                        TABLE OF AUTHORITIES
                                                                                                                Page(s)
 2
 3   Federal Cases
 4   Allied-Bruce Terminix Cos. v. Dobson,
            513 U.S. 265 (1995) ........................................................................................ 14
 5
     Asfaw v. Lowe’s HIW, Inc.,
 6        2014 WL 1928612 (C.D. Cal. May 13, 2014) ................................................ 27
 7   Ashcroft v. Iqbal,
 8        556 U.S. 662 (2009) ........................................................................................ 22
 9   AT&T Mobility LLC v. Concepcion,
         563 U.S. 333 (2011) ........................................................................................ 27
10
     AT&T Techs., Inc. v. Commc’ns Workers of Am.,
11       475 U.S. 643 (1986) ........................................................................................ 16
12   Baker v. Acad. of Art Univ. Found.,
           2017 WL 4418973 (N.D. Cal. Oct. 5, 2017) ................................................... 15
13
     Bell Atl. Corp. v. Twombly,
14         550 U.S. 544 (2007) ........................................................................................ 22
15   Biller v. Toyota Motor Corp.,
16          668 F.3d 655 (9th Cir. 2012) ........................................................................... 13

17   Circuit City Stores, Inc. v. Adams,
           279 F.3d 889 (9th Cir. 2002) ........................................................................... 14
18
     Daghlian v. DeVry Univ., Inc.,
19        582 F.Supp.2d 1231 (C.D. Cal. 2007)............................................................. 13
20   Davis v. Nordstrom, Inc.,
           755 F.3d 1089 (9th Cir. 2014) ................................................................... 14, 16
21
     Desai v. General Growth Props., Inc.,
22         654 F.Supp.2d 836 (N.D. Ill. 2009) ................................................................ 29
23   Epic Systems Corp. v. Lewis,
24         138 S.Ct. 1612 (2018) ................................................................................. 8, 27
     Ferguson v. Corinthian Colleges, Inc.,
25
          733 F.3d 928 (2013) .......................................................................................... 8
26   Ferguson v. Countrywide Credit Indus., Inc.,
27        298 F.3d 778 (9th Cir. 2002) ........................................................................... 20
28
                                                 3
                DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                    AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 4 of 31 Page ID
                                 #:2444



 1   Federal Cases, cont.
 2   Gelow v. Cent. Pac. Mortg. Corp.,
          560 F.Supp.2d 972 (E.D. Cal. 2008) ............................................................... 13
 3
     Hebei Hengbo New Materials Tech. Co. v. Apple, Inc.,
 4         344 F.Supp.3d 1111 (N.D. Cal. 2018) ............................................................ 31
 5   In re VeriSign, Inc., Derivative Litig.,
 6          531 F.Supp.2d 1173 (N.D. Cal. 2007) ............................................................ 13
 7   Jeffrey v. Auto. Club of S. California,
            2014 WL 2979775 (Cal. Ct. App. July 3, 2014) ............................................. 15
 8
     Kilgore v. KeyBank, Nat. Ass’n,
 9         718 F.3d 1052 (2013) ...................................................................................... 30
10   Klein v. Delbert Servs. Corp.,
           2015 WL 1503427 (N.D. Cal. Apr. 1, 2015) .................................................. 15
11
     Magana v. DoorDash, Inc.,
12       343 F.Supp.3d 891 (N.D. Cal. 2018) .............................................................. 30
13   Mohamed v. Uber Techs., Inc.,
14       109 F.Supp.3d 1185 (N.D. Cal. 2015) ............................................................ 15

15   Mohamed v. Uber Techs., Inc.,
         848 F.3d 1201 (9th Cir. 2016) ......................................................................... 15
16
     Monster Energy Company v. City Beverages, LLC,
17        940 F.3d 1130 (9th Cir. 2019) ......................................................................... 24
18   Monster Energy Company v. City Beverages, LLC,
          2021 WL 650275 (C.D. Cal. February 17, 2021) ........................................... 24
19
     Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
20        460 U.S. 1 (1983) ...................................................................................... 14, 16
21   Nanavati v. Adecco USA, Inc.,
22        99 F.Supp.3d 1072 (N.D. Cal. 2015) .............................................................. 15
     Poublon v. C.H. Robinson Co.,
23
          846 F.3d 1251 (9th Cir. 2017) ................................................................... 14, 23
24   Republic of Nicaragua v. Standard Fruit Co.,
25        937 F.2d 469 (9th Cir. 1991) ........................................................................... 29
26   Retail Wholesale & Dep’t Store Union Local 338 Ret. Fund v. Hewlett-Packard Co.,
            845 F.3d 1268 (9th Cir. 2017) ......................................................................... 29
27
     Reynolds v. NRC Env't Servs. Inc.,
28        2020 WL 6083112 (C.D. Cal. Aug. 24, 2020) ................................................ 15
                                                 4
                DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                    AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 5 of 31 Page ID
                                 #:2445



 1   Federal Cases, cont.
 2   Shroyer v. New Cingular Wireless Servs.,
           498 F.3d 976 (9th Cir. 2007) ........................................................................... 20
 3
     Southland Corp. v. Keating,
 4         465 U.S. 1 (1984) ............................................................................................ 29
 5   Sparling v. Hoffman Constr. Co., Inc.,
 6         864 F.2d 635 (9th Cir. 1988) ........................................................................... 31
 7   Tanis v. Sw. Airlines, Co.,
           2019 WL 1111240 (S.D. Cal. Mar. 11, 2019)................................................. 15
 8
     California Cases
 9
     Armendariz v. Foundation Health Psychcare Services,
10        24 Cal.4th 83 (2000) ....................................................7, 17, 19, 20, 21, 22, 310
11   Blankenheim v. E. F. Hutton, Co., Inc.,
           217 Cal.App.3d 1463 (1990) ........................................................................... 28
12
     Craig v. Brown & Root, Inc.,
13         84 Cal.App.4th 416 (2000) .............................................................................. 16
14   Dotson v. Amgen,
15        181 Cal.App.4th 975 (2010) ...................................................................... 20, 22

16   Engalla v. Permanente Med. Grp., Inc.,
           15 Cal.4th 951 (1997) ...................................................................................... 27
17
     Graham v. Scissor-Tail, Inc.,
18        28 Cal.3d 807 (1981) ....................................................................................... 21
19   Guido v. Koopman,
          1 Cal.App.4th 837 (1991) ................................................................................ 28
20
     Kinney v. United HealthCare Servs., Inc.,
21        70 Cal.App.4th 1322 (1999) ............................................................................ 22
22   Lagatree v. Luce, Forward, Hamilton & Scripps LLP,
23         74 Cal.App.4th 1105 (2000) ............................................................................ 21
     Larian v. Larian,
24
           123 Cal.App.4th 751 (2004) ............................................................................ 28
25   McGill v. Citibank, N.A,
26        2 Cal.5th 945 (2017) .................................................................................... 8, 30
27   Page v. Superior Court,
           31 Cal.App.4th 1206 (1995) ............................................................................ 26
28
                                                 5
                DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                    AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 6 of 31 Page ID
                                 #:2446



 1   California Cases, cont.
 2   Roman v. Superior Court,
         172 Cal.App.4th 1462 (2009) .......................................................................... 20
 3
     Romano v. Rockwell Int’l, Inc.,
 4       14 Cal.4th 479 (1996) ...................................................................................... 26
 5   Sanchez v. Valencia Holding Co.,
 6        61 Cal.4th 899 (2015) ...................................................................................... 20
 7   Sandquist v. Lebo Auto., Inc.,
          1 Cal.5th 233 (2016) ........................................................................................ 24
 8
     Sonic-Calabasas A, Inc. v. Moreno,
 9         57 Cal.4th 1109 (2013).................................................................................... 20
10   Stirlen v. Supercuts, Inc.,
            51 Cal.App.4th 1519 (1997) ............................................................................ 30
11
     Torrecillas v. Fitness Int’l, LLC,
12         52 Cal.App.5th 485 (2020) .............................................................................. 30
13   Victrola 89, LLC v. Jaman Properties 8 LLC,
14         46 Cal.App.5th 337 (2020) .............................................................................. 12

15   Federal Statutes
16   9 U.S.C. § 2.......................................................................................................... 14, 17
     9 U.S.C. § 3............................................................................................................ 8, 31
17
     9 U.S.C. § 4.................................................................................................................. 8
18
     California Statutes
19
     Cal. Bus. & Prof. Code § 17200 .......................................................................... 12, 30
20
     Cal. Civ. Code § 1643................................................................................................ 26
21
     Cal. Civ. Code § 1668................................................................................................ 30
22   Cal. Civ. Proc. Code § 170.5 ............................................................................... 24, 25
23   Cal. Civ. Proc. Code § 1281 ...................................................................................... 14
24   Cal. Civ. Proc. Code § 1281.92 ........................................................................... 24, 25
25   Cal. Civ. Proc. Code § 1689 ...................................................................................... 29
26   Regulations
27   48 C.F.R. §§ 222.7402, 222.7403 .............................................................................. 25
28
                                                  6
                 DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                     AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 7 of 31 Page ID
                                 #:2447



 1   I.       INTRODUCTION
 2            In response to Plaintiff Doe’s (“Doe”) 1 belated filing of a First Amended
 3   Complaint (“FAC”) while Defendant University of Southern California’s (“USC”)
 4   motion to compel arbitration of this matter was already fully briefed and under
 5   submission for the Court’s decision, USC brings this renewed motion to compel
 6   arbitration. As before, USC’s motion seeks to enforce the stand-alone, bilateral
 7   arbitration agreement that Doe (a “licensed attorney” with experience in alternative
 8   dispute resolution and employment law) agreed to on February 13, 2018.
 9            Rather than submit to arbitration as required by her Agreement to Arbitrate
10   Claims (“Agreement”), Doe filed in court in July 2020. Now, nearly a year later,
11   Doe has filed the 370-paragraph FAC (with amendments that are legally barred,
12   non-cognizable, and/or unnecessary) in an attempt to delay the Court’s decision on
13   USC’s long-pending motion to compel arbitration of Doe’s original complaint.
14            The Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., applies to the
15   Agreement and requires its enforcement. The Agreement covers all of the claims
16   alleged in the FAC. It is fully bilateral and provides the safeguards required in
17   Armendariz v. Foundation Health Psychcare Services, 24 Cal.4th 83, 97 (2000),
18   including a neutral arbitrator, adequate discovery, all relief otherwise available in
19   court, and limits Doe’s share of arbitration fees to the current court filing fee.
20            Doe’s allegations that the Agreement is unconscionable or otherwise
21   unenforceable are meritless. First, pre-employment arbitration agreements that are
22   required as a condition of employment are valid and fully enforceable. Second,
23   contrary to Doe’s belief that she is entitled to the “full panoply of discovery,” it is
24   well-established that discovery limits are permitted as long as the parties are entitled
25   to adequate discovery, which the Agreement provides. Third, JAMS is a neutral
26   arbitral forum. Doe’s allegations otherwise lack support and/or are nothing more
27
28   1
         For brevity’s sake, all references to Doe will adopt the feminine pronoun.
                                                7
               DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                   AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 8 of 31 Page ID
                                 #:2448



 1   than a repackaging of the “repeat player” argument that courts have rejected. Fourth,
 2   Doe’s reliance on the Franken Amendment is unavailing because this regulation
 3   does not create a defense to arbitration by private civil litigants. Fifth, the U.S.
 4   Supreme Court has deemed class and collective action waivers valid and
 5   enforceable. Sixth, the allegation that Doe’s consent to the Agreement was induced
 6   by fraud fails as a matter of law because there is no evidence that USC made any
 7   false representations concerning the Agreement or arbitral proceedings. Epic
 8   Systems Corp. v. Lewis, 138 S.Ct. 1612, 1623 (2018). Seventh, that Doe seeks
 9   injunctive relief to enjoin enforcement of the Agreement against her does not
10   prevent compelling this matter to arbitration. Ferguson v. Corinthian Colleges, Inc.,
11   733 F.3d 928, 934-937 (2013). The Agreement does not bar Doe from seeking
12   injunctive relief “in any forum,” so this is not a basis to deny its enforcement. In
13   any event, Doe has not stated a claim for public injunctive relief, i.e., “relief that has
14   ‘the primary purpose and effect of’ prohibiting unlawful acts that threaten future
15   injury to the general public.” McGill v. Citibank, N.A., 2 Cal.5th 945, 951–952
16   (2017). There is nothing “public” about Doe’s injunctive relief because it concerns
17   only herself—as demonstrated by the FAC’s deletion of the putative class claim Doe
18   originally pleaded, seeking to represent a class of employees who, like Doe, “signed
19   a written arbitration agreement in conjunction with and as a condition of
20   commencing employment.” (See ECF 50-1, Exhibit A, 2:11-16, 2:21-22, 65:1-68:24
21   [redline deleting class claim on behalf of USC employees who “signed an
22   ‘Agreement to Arbitrate Claims’”].)
23         In short, Doe’s claims are subject to a valid arbitration agreement, which the
24   FAA, 9 U.S.C. § 4, requires be enforced according to its terms. USC thus
25   respectfully requests that the Court grant its motion and order Doe to arbitrate all
26   claims and dismiss the FAC or, in the alternative, stay these proceedings until the
27   arbitration is completed. 9 U.S.C. § 3.
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             DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                 AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 9 of 31 Page ID
                                 #:2449



 1   II.   STATEMENT OF FACTS
 2         A.     USC Is A World-Renowned University That Conducts Business
 3                Throughout The Country And The World.
 4         USC is a world-renowned private research university that serves a student
 5   body of more than 48,000 undergraduate and graduate students from all over the
 6   United States and the world. 2 (Decl. of Kedra Ishop (“Ishop Decl.”) ¶ 2.) In addition
 7   to its two campuses in Los Angeles, USC maintains an educational program in
 8   Washington, D.C. and fellowship opportunities throughout the United States. (Id. ¶
 9   3.) USC also offers a wide variety of online courses for students throughout the
10   United States. (Id. ¶ 4.) Over 7,000 graduate students take at least some portion of
11   their courses online, with most of those students pursuing degrees exclusively
12   through distance education. (Id.)
13         B.     Doe Electronically Accepted The Agreement.
14         The following events in February 2018 demonstrate that Doe electronically
15   agreed to the Agreement via Workday, USC’s human resources management
16   electronic database:
17         February 9, 2018: USC recruiter Yanara Portero sent an email to Doe stating
18   in relevant part: “I am working on your contingent offer now, and you should have it
19   by Monday afternoon [February 12, 2018] at the latest.” (Declaration of Yanara
20   Portero (“Portero Decl.”) ¶ 2, Ex L, pp. 4-5.)
21         February 12, 2018: Portero caused Workday to generate and send to Doe an
22   offer letter, At-Will Agreement, and Agreement (collectively “Offer Documents”).
23   (Portero Decl. ¶ 2; Declaration of Peter Fennema (“Fennema Decl.”) ¶¶ 3-6, Ex G.)
24   Portero then sent Doe an email stating, in part: “I have sent your formal offer
25   documents via Workday, our HCM system …. Once you review and accept all 3
26
     2
27     Of the 3,460 students in the 2020 entering first-year class, 57% of the students
     reside outside of California, and 12% of the students reside outside the United
28   States. (Ishop Decl. ¶ 2.)
                                              9
             DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                 AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 10 of 31 Page ID
                                 #:2450



  1   documents (Offer, At-Will Agreement, Agreement to Arbitrate Claims), please
  2   resubmit them to me via the system.” (Portero Decl. ¶ 2, Ex H, p. 2 [emphasis
  3   added].)
  4         To access the Offer Documents, Doe had to log into her Workday candidate
  5   account (“Workday Candidate Account”) by entering her unique username and
  6   password. (Fennema Decl. ¶¶ 2-3.) Doe admits USC sent her “a conditional offer
  7   letter” on February 12, 2018. (ECF 15-43, ¶ 8.) The offer letter states it was
  8   “contingent” on “[a]cceptance of the university’s Agreement to Arbitrate Claims”
  9   which was “forwarded to [Doe] with th[e] offer.” (Thompson Decl., Ex. B.)
 10         Doe admits she received and read the Agreement on February 12, 2018.
 11   (ECF 15-43, ¶ 9.) When reviewing the Agreement, Doe would have seen in bold
 12   font “Review Document.” Directly below this text was a hyperlink that Doe could
 13   click on to review and print the Agreement. Below the hyperlink was the statement:
 14   “Employee understands and agrees that by checking this box, he/she and the
 15   university are giving up their respective rights to a jury trial.” Below this statement
 16   were the words “I Agree” in bold and a box that Doe could check. Once Doe
 17   checked the “I Agree” box, an “OK” command button at the bottom of the Workday
 18   page became active. Workday logged the date and time that Doe clicked the “OK”
 19   command button after checking the “I Agree” box. (Fennema Decl. ¶¶ 3-5, Ex E.)
 20         February 13, 2018: At 12:35 pm Pacific Time, Doe clicked “OK” after
 21   checking “I Agree” to the Agreement. (Fennema Decl. ¶¶ 5-9; Ex F and G.) At
 22   12:40 pm Pacific Time, Doe emailed Portero confirming her acceptance of the
 23   Agreement: “I’ve accepted the documents in Workday.” (Portero Decl. ¶ 2, Ex H,
 24   p. 1 [emphasis added].) Thereafter, USC hired Doe in March 2018. (FAC ¶ 6.)
 25         Doe presumably understood the effect of her words and actions as she was a
 26   licensed attorney who claims to have “15 years of alternative dispute resolution
 27   experience,” and “13 years of Senior Management Experience” that included
 28   working as a “senior partner” representing clients in a variety of issues including
                                                 10
                 DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                     AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 11 of 31 Page ID
                                 #:2451



  1   “Labor and Employment.” (FAC ¶ 6; Thompson Decl. Ex. C. [emphasis added].) 3
  2         C.     The Agreement Is Bilateral And Requires The Parties To
  3                Submit Claims To Arbitration.
  4         The two-page, stand-alone Agreement bears the title “AGREEMENT TO
  5   ARBITRATE CLAIMS” in bold capital letters and states in part:
  6         [T]he University and the faculty or staff member named below
  7         (“Employee”) agree to the resolution by arbitration of all claims,
  8         whether or not arising out of Employee’s University employment,
  9         remuneration or termination, that Employee may have against the
 10         University or any of its related entities, including but not limited to
 11         faculty practice plans, or its or their officers, trustees, administrators,
 12         employees or agents, in their capacity as such or otherwise; and all
 13         claims that the University may have against Employee.
 14   (Thompson Decl., Ex. B, at ¶ 1.)
 15         The Agreement explains that “[a]ny claim that otherwise would have been
 16   decidable in a court of law — whether under local, state or federal law — will
 17   instead be decided by arbitration, except as specifically excluded by this
 18   Agreement.” (Id., at ¶ 2.) It lists examples of covered claims including, without
 19   limitation and in part: “…claims for personal, physical, or emotional injury, or for
 20   any tort; claims for discrimination or harassment (including, but not limited to, race,
 21   sex, religion, national origin, age, marital status, sexual orientation, gender identity
 22   or expression, military and veteran status, or medical condition or disability); claims
 23   for ‘whistleblowing’ or retaliation; and claims for violation of any federal, state or
 24   other governmental law, statute, regulation, or ordinance.” (Id.)
 25
 26   3
       Because Plaintiff filed this lawsuit using the pseudonym “Doe” instead of her real
 27   name, USC has redacted Plaintiff’s name and other personally identifying
      information from the exhibits to the concurrently-filed declarations. Counsel for
 28   USC will provide unredacted copies of these exhibits upon request. See L.R. 5.2-1.
                                              11
              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 12 of 31 Page ID
                                 #:2452



  1          Pursuant to the Agreement, “[t]he parties agree that final and binding
  2   arbitration shall be the sole exclusive remedy for resolving any claims covered by
  3   this Agreement, instead of any court action, which is hereby expressly waived.”
  4   (Id., at ¶ 4 [emphasis added].) It also specifies that the arbitration will proceed “in
  5   accordance with the JAMS Employment Arbitration Rules & Procedures (and no
  6   other rules), except to the extent such rules conflict with the procedures set forth
  7   herein.” (Id., at ¶ 5.) The Agreement informed Doe that the JAMS Employment
  8   Arbitration Rules & Procedures are available at http://www.jamsadr.com/rules-
  9   employment-arbitration and that USC would also provide a printed copy upon
 10   request. (Id.)
 11          D.        Despite Acknowledging That She “Accepted” The
 12                    Agreement, Doe Filed Her Claims In Court.
 13          On July 8, 2020, Doe filed a complaint alleging six causes of action,
 14   including one putative class claim for “avoidance of” and/or an injunction against
 15   enforcement of USC’s arbitration agreements with its employees under the Unfair
 16   Competition Law (“UCL”), California Business and Professions Code § 17200. On
 17   May 20, 2021, just over a week after the Court took USC’s pending motion to
 18   compel arbitration under submission, Doe filed the FAC, which: (1) adds a fourth
 19   cause of action under Title IX for “Illegal Arbitrations in violation of § 1281.92;”
 20   and (2) deletes Doe’s putative class claim.
 21   III.   LEGAL ARGUMENT
 22          A.        The FAA Governs The Agreement.
 23          The FAA governs here because the Agreement expressly provides that “the
 24   [FAA] shall govern the interpretation, enforcement, and all proceedings pursuant to
 25   this Agreement.” (Thompson Decl., Ex. B, at p. 2.) This is an enforceable choice of
 26   law provision. Victrola 89, LLC v. Jaman Properties 8 LLC, 46 Cal.App.5th 337,
 27   346 (2020) (“when an agreement provides that its ‘enforcement’ shall be governed
 28   by the FAA, the FAA governs a party’s motion to compel arbitration”); Biller v.
                                               12
               DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                   AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 13 of 31 Page ID
                                 #:2453



  1   Toyota Motor Corp., 668 F.3d 655, 662–663 (9th Cir. 2012) (applying the FAA
  2   where the “plain language” of the arbitration agreement stated that the FAA
  3   applied); In re VeriSign, Inc., Derivative Litig., 531 F.Supp.2d 1173, 1224 (N.D.
  4   Cal. 2007) (“The FAA governs the issue of arbitrability here because the agreement
  5   expressly so provides and because the agreement involves interstate commerce.”).
  6         The FAA also governs because USC affects and is engaged in interstate
  7   commerce. 4 Indeed, Plaintiff admits that “USC employees are ‘engaged in interstate
  8   commerce’” and investigators (such as Plaintiff) interview “geographically
  9   dispersed faculty … via videoconference.” (See ECF 15 at 12:16-19.) Moreover,
 10   USC maintains educational programs in states outside of California. The USC
 11   community (including employees and students) transacts business and/or
 12   communicates with applicants, students, parents, and third parties throughout the
 13   country and internationally by telephone, U.S. Mail, the Internet, courier service,
 14   and other forms of interstate communications. (Ishop Decl. ¶ 5.) Students pay their
 15   courses using checks, electronic payments, or loans made by institutions – all
 16   transacted through mail, telephone, electronically, courier service, or other means
 17   involving interstate commerce. (Id.)
 18
 19   4
        The FAA’s required nexus to interstate commerce is low; any contract that in any
 20   way affects interstate commerce satisfies this requirement. See Allied-Bruce
 21   Terminix Cos. v. Dobson, 513 U.S. 265, 273-74 (1995) (applying the FAA to a
      termite-extermination contract applicable to one single family home because the
 22   defendant was a multistate firm and shipped treatment and repair material from out
 23   of state); Daghlian v. DeVry Univ., Inc., 582 F.Supp.2d 1231, 1241, fn.21 (C.D. Cal.
      2007) (approving of prior rulings that a school’s post-secondary educational services
 24   constituted “interstate commerce” because its operation necessarily involved
 25   communication between states: information regarding registration, financial aid,
      curriculum, testing and measurement, and students, faculty, administrators, and
 26   money moved back and forth between states.); Gelow v. Cent. Pac. Mortg. Corp.,
 27   560 F.Supp.2d 972, 978 (E.D. Cal. 2008) (holding that the FAA applied to the
      arbitration agreement because defendant’s business was involved in interstate
 28   commerce as it had operations in several states).
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 14 of 31 Page ID
                                 #:2454



  1         B.     The Agreement Is Presumed Valid and Enforceable.
  2         In adjudicating a motion to compel arbitration, “the role of the district court is
  3   to determine if a valid arbitration agreement exists, and if so, whether the agreement
  4   encompasses the disputes at issue.” Davis v. Nordstrom, Inc., 755 F.3d 1089, 1092
  5   (9th Cir. 2014) . Agreements are presumed to be valid and the party seeking to avoid
  6   arbitration bears the burden of demonstrating otherwise. 9 U.S.C. § 2 (arbitration
  7   agreements are “valid, irrevocable and enforceable, save upon such grounds as exist
  8   at law or in equity”); Cal. Civ. Proc. Code § 1281 (“A written agreement to submit
  9   to arbitration an existing controversy or a controversy thereafter arising is valid,
 10   enforceable and irrevocable, save upon such grounds as exist for the revocation of
 11   any contract.”); Poublon v. C.H. Robinson Co., 846 F.3d 1251, 1260 (9th Cir. 2017)
 12   (“the party opposing arbitration bears the burden of proving any defense, such as
 13   unconscionability”) (quotation and citation omitted). Moreover, “any doubts
 14   concerning the scope of arbitrable issues should be resolved in favor of arbitration,
 15   whether the problem at hand is the construction of the contract language itself or an
 16   allegation of waiver, delay, or a like defense to arbitrability.” Moses H. Cone Mem’l
 17   Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983). “In determining the
 18   validity of an agreement to arbitrate, federal courts ‘should apply ordinary state-law
 19   principles that govern the formation of contracts.’” Circuit City Stores, Inc. v.
 20   Adams, 279 F.3d 889, 892 (9th Cir. 2002) (citation omitted).
 21                1.    Doe Acknowledged Accepting The Agreement And Is Bound.
 22         Doe’s actions establish that she agreed to, understood she agreed to, and is
 23   legally bound by the Agreement. In February 2018, Doe expressly acknowledged in
 24   writing that she “accepted” the Agreement. On February 13, 2018 at 12:35 pm, Doe
 25   clicked the “OK” command button after checking the “I Agree” box on the
 26   Workday page for the Agreement. Five minutes later, at 12:40 pm, Doe sent an
 27   email to Portero to confirm that, “I’ve accepted the documents in Workday.”
 28   (Portero Decl. ¶ 2, Ex. H [emphasis added]; Fennema Decl. ¶¶ 4-9, Exs F-G;
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 15 of 31 Page ID
                                 #:2455



  1   Thompson Decl. ¶¶ 4, Ex B.) Doe cannot now avoid the Agreement by claiming that
  2   she cannot recall her actions in February 2018. (See ECF 37-1, ¶ 5); see also Jeffrey
  3   v. Auto. Club of S. California, 2014 WL 2979775, at *4 (Cal. Ct. App. July 3, 2014)
  4   (court enforced arbitration agreement despite Plaintiff claiming she did not recall
  5   signing it because the evidence established that she signed the agreement).
  6         Doe’s clicking “I Agree” and “OK” sufficiently establishes that she accepted
  7   and is bound by the Agreement. Where “Plaintiff has submitted no declaration of
  8   his own refuting the facts” concerning the execution, a declaration setting forth
  9   Plaintiff’s actions “easily satisfies Defendant’s low burden to authenticate Plaintiff's
 10   electronic signature and establish the existence of a valid arbitration agreement.”
 11   Nanavati v. Adecco USA, Inc., 99 F.Supp.3d 1072, 1076 (N.D. Cal. 2015). See also
 12   Mohamed v. Uber Techs., Inc., 109 F.Supp.3d 1185, 1195-1997 (N.D. Cal. 2015)
 13   (enforcing arbitration agreement where plaintiff could review it via hyperlink and
 14   was required to click through to continue using the application and also click “Yes, I
 15   Agree”) (reversed on other grounds in Mohamed v. Uber Techs., Inc., 848 F.3d
 16   1201, 1211 (9th Cir. 2016); Baker v. Acad. of Art Univ. Found., No. 17-CV-03444-
 17   JSC, 2017 WL 4418973, at *1 (N.D. Cal. Oct. 5, 2017) (court enforced arbitration
 18   agreement, which student accessed, reviewed, and clicked “I Agree” via his online
 19   student account accessible through a secure log-in and password); Tanis v. Sw.
 20   Airlines, Co., No. 18-CV-2333-BAS-BGS, 2019 WL 1111240, at *5 (S.D. Cal. Mar.
 21   11, 2019) (“Courts have long upheld agreements where a contract was formed when
 22   a plaintiff clicked on a button to assent to an agreement in which the terms
 23   themselves are accessed by a hyperlink.”); Klein v. Delbert Servs. Corp., No. 15-
 24   CV-00432-MEJ, 2015 WL 1503427, at *5 (N.D. Cal. Apr. 1, 2015) (court
 25   compelled arbitration where plaintiff reviewed a promissory note and arbitration
 26   provision online and electronically checked boxes to confirm agreement to both
 27   provisions); Reynolds v. NRC Env't Servs. Inc., No. CV 20-5262 MWF (PDX), 2020
 28   WL 6083112, at *4–5 (C.D. Cal. Aug. 24, 2020) (court granted motion to compel
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 16 of 31 Page ID
                                 #:2456



  1   arbitration and held that evidence of a checkmark was sufficient).
  2         Moreover, Doe accepted and is bound by the Agreement because she: (1)
  3   accepted USC’s offer of employment, which was expressly contingent on
  4   acceptance of the Agreement. (Thompson Decl., Ex. B); and (2) continues to be an
  5   employee of USC. Davis, 755 F.3d at 1093 (an employee accepted arbitration
  6   provision that were part of the terms of employment if employee continues
  7   employment after being given notice of the terms); Craig v. Brown & Root, Inc., 84
  8   Cal.App.4th 416, 420 (2000) (“the employee's continued employment constitutes
  9   her acceptance of an [arbitration] agreement proposed by her employer”) (approved
 10   in Davis, 775 F.3d at 1093).
 11                2.     Doe’s Claims Fall Within The Scope of The Agreement.
 12         The public policy favoring enforcement of arbitration agreements to the full
 13   extent possible is particularly applicable where, as here, the Agreement has broad
 14   language to render any and all claims or differences subject to arbitration, except for
 15   those expressly excluded. (Thompson Decl., Ex. B, at ¶ 2.); Moses H. Cone Mem’l
 16   Hosp., supra, 460 U.S. at 24-25 (“any doubts concerning the scope of arbitrable
 17   issues should be resolved in favor of arbitration”). A motion to compel arbitration
 18   “should not be denied unless it may be said with positive assurance that the
 19   arbitration clause is not susceptible of an interpretation that covers the asserted
 20   dispute.” AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 650 (1986)
 21   (quotation and citation omitted). Even then, “only the most forceful evidence of a
 22   purpose to exclude the claim from arbitration can prevail.” Id.
 23         Here, the Agreement covers “all claims, whether or not arising out of
 24   Employee's University employment” except those expressly excluded. The only
 25   claims excluded from the Agreement are claims under Title VII of the Civil Rights
 26   Act of 1964, tort claims related to sexual assault or harassment, claims for workers’
 27   compensation or unemployment benefits, faculty claims subject to writ of
 28   administrative mandamus, administrative charges with a fair employment practices
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 17 of 31 Page ID
                                 #:2457



  1   agency or the NLRB, and claims arising under certain specific statutes. (Thompson
  2   Decl., Ex. B, at ¶ 3.) Doe’s claims in the FAC do not fall within the limited list of
  3   claims excluded from the Agreement and, thus, are all subject to arbitration (though
  4   the sixth claim for rescission will be resolved by this motion).
  5         C.     There is No Basis For Revocation Under the FAA Because
  6                The Agreement Complies With Armendariz.
  7         The FAA states that arbitration agreement “shall be valid, irrevocable, and
  8   enforceable, save upon such grounds as exist at law or in equity for the revocation of
  9   any contract.” 9 U.S.C. § 2. The Agreement is not revocable because it complies
 10   with the requirements of Armendariz. In Armendariz, the California Supreme Court
 11   reviewed key features of an arbitration agreement that required the mandatory
 12   arbitration of an employee’s claims. As the Armendariz Court explained, “[s]uch an
 13   arbitration agreement is lawful if it: (1) provides for neutral arbitrators, (2) provides
 14   for more than minimal discovery, (3) requires a written award, (4) provides for all
 15   the types of relief that would otherwise be available in court, and (5) does not
 16   require employees to pay either unreasonable costs or any arbitrators’ fees or
 17   expenses as a condition of access to the arbitration forum.” Armendariz, 24 Cal.4th
 18   at 102 (citations omitted).
 19         Here, the Agreement that fully complies with Armendariz. Moreover, the
 20   Agreement specifically states that arbitrations “shall” be “conducted in accordance
 21   with the JAMS Employment Arbitration Rules & Procedures” (“JAMS Rules”).
 22   (Thompson Decl., Ex. B, at ¶ 5.) The JAMS Rules provide additional procedural
 23   safeguards, which are entirely consistent with the standards set forth in Armendariz.
 24         First, the Agreement provides for “impartial arbitration.” (Thompson Decl.,
 25   Ex. B, at ¶ 1.) The JAMS Rules also ensure neutral arbitration as they explicitly
 26   require that arbitration be conducted by “one neutral Arbitrator.” (Declaration of
 27   Vicky Lin (“Lin Decl.”), Ex. I, Rule 7(a).) For example, JAMS Rule 15: (1) sets the
 28   process for selection of a neutral arbitrator via the parties’ striking potential
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 18 of 31 Page ID
                                 #:2458



  1   arbitrators from a list provided by JAMS, and (2) requires the selected arbitrator to
  2   make “[a] ny disclosures regarding the selected Arbitrator … required by law or
  3   within ten (10) calendar days from the date of appointment.”(Id.) 5
  4         Second, the Agreement and the rules guarantee more than adequate discovery
  5   sufficient for Doe to vindicate her claims. The Agreement provides that the
  6   Arbitrator “shall afford the parties adequate discovery, including deposition
  7   discovery, taking into account their shared desire to have a fast, cost-effective
  8   dispute-resolution mechanism.” (Thompson Decl., Ex. B, at ¶ 8.) JAMS Rules
  9   provide for the exchange of “all non-privileged documents and other information …
 10   relevant to the dispute or claim” and the “names of individuals whom they may call
 11   as witnesses.” (Lin Decl., Ex. I, Rule 17(a).). The exchange of such information is a
 12   continuing obligation by the parties. (Id., Rule 17(c).) In addition, under the JAMS
 13   Rules, each party is entitled to take a minimum of one deposition and the Arbitrator
 14   is empowered to grant additional depositions or other discovery, “based upon the
 15   reasonable need for the requested information.” (Id., Rule 17(b) and (d).)
 16         Third, the Agreement provides that “the arbitrator shall render an award and a
 17   written, reasoned opinion in support thereof.” (Thompson Decl., Ex. B, at ¶ 8.) The
 18   JAMS Rules similarly require a written award and written reasons for the award.
 19   (Lin Decl., Ex. I, Rule 24(h).)
 20         Fourth, under the Agreement, “[t]he arbitrator shall award all the remedies to
 21   which the prevailing party is legally entitled, including attorneys’ fees and/or
 22   litigation costs if recoverable under applicable law.” (Thompson Decl., Ex. B, at ¶
 23   8.) The JAMS Rules contain similar language and allow the arbitrator to grant any
 24   remedy or relief that is “within the scope of the Parties’ agreement” including any
 25   “equitable or legal remedy” and attorneys’ fees in accordance with applicable law.
 26   (Lin Decl., Ex. I, Rule 24(c) and (g).)
 27
      5
       This is consistent with Rules 7 and 8 of the California Ethics Standards for Neutral
 28   Arbitrators requiring disclosures within 10 days from nomination or appointment.
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 19 of 31 Page ID
                                 #:2459



  1         Fifth, the Agreement provides that the “Employee’s share of the arbitrator’s
  2   fee and the JAMS filing fee shall be no more than the then-current filing fee in the
  3   California Superior Court....” (Thompson Decl., Ex. B, at ¶ 5.) The JAMS Rules
  4   impose further restrictions that, in cases like this, “the only fee that an employee
  5   may be required to pay is the initial JAMS Case Management Fee,” which cannot be
  6   more than $400. (Lin Decl., Ex. I, Rule 31(c); and Ex. J.) This is less than the
  7   current filing fee of $435 in Los Angeles Superior Court and equivalent to the filing
  8   fee in U.S. District Court – Central District of California.
  9         Accordingly, on its face, and viewed in conjunction with the incorporated
 10   JAMS Rules, the Agreement is enforceable under Armendariz.
 11         D.     Doe’s Claim For Rescission Of The Agreement Is Meritless.
 12         Doe’s claim for rescission alleges that the Agreement is: (1) unconscionable;
 13   (2) her consent was obtained through fraud; and (3) its enforcement would be
 14   “prejudicial to the public interest.” 6 These allegations lack merit and fail to
 15   undermine the validity of the Agreement.
 16                1.     There Is No Unconscionability.
 17         In California, “[i]n order to render a contract unenforceable under the doctrine
 18
      6
 19     Plaintiff incorrectly alleges that the Agreement “reserves to a [] jury to determine
      the Arbitration Agreement’s enforceability.” (FAC ¶ 370). There is no such
 20   provision in the Agreement. It is well-established that the court determines the
 21   validity and enforceability of a stand-alone arbitration agreement when it is
      challenged. See Buckeye Check Cashing v. Cardegna, 546 U.S. 440, 445-446
 22   (2006). Nor does the “JAMS Policy on Employment Arbitration Minimum
 23   Standards of Procedural Fairness,” on which Plaintiff relies, require a jury
      determination. It specifically states: “[i]f a party contests the enforceability of a pre-
 24   dispute arbitration agreement that was required as a condition of employment, and if
 25   compliance with the Minimum Standards is in question, JAMS will, if given notice
      of the dispute, defer administering the arbitration for a reasonable period of time to
 26   allow the contesting party to seek a judicial ruling on the issue” and that “JAMS
 27   will comply with that judicial determination.” (Lin Decl., Ex. K, emphasis added.)
      This Court’s ruling on this motion would constitute such a judicial ruling and
 28   determination.
                                              19
              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 20 of 31 Page ID
                                 #:2460



  1   of unconscionability, there must be both a procedural and substantive element of
  2   unconscionability.” Ferguson v. Countrywide Credit Indus., Inc., 298 F.3d 778, 783
  3   (9th Cir. 2002) (citing Armendariz, 24 Cal. 4th at 114). The former focuses on
  4   “oppression” or “surprise” due to unequal bargaining power. Id. Substantive
  5   unconscionability, on the other hand, is present if the contract terms are “overly
  6   harsh” or “one-sided.” Id. These two elements, however, need not both be present in
  7   the same degree. See Shroyer v. New Cingular Wireless Servs., 498 F.3d 976, 981
  8   (9th Cir. 2007). The more substantively oppressive the terms are, the less evidence
  9   of procedural unconscionability is required to find that the contract is unenforceable,
 10   and vice versa. Id. Importantly, the “unconscionability inquiry is not a license for
 11   courts to impose their renditions of an ideal arbitral scheme.” Sonic-Calabasas A,
 12   Inc. v. Moreno, 57 Cal.4th 1109, 1148 (2013). “A party cannot avoid a contractual
 13   obligation merely by complaining that the deal, in retrospect, was unfair or a bad
 14   bargain.” Sanchez v. Valencia Holding Co., 61 Cal.4th 899, 911 (2015).
 15                      a.     There Is No Procedural Unconscionability.
 16         Procedural unconscionability stems from the elements of oppression and
 17   unfair surprise. Dotson v. Amgen, 181 Cal.App.4th 975, 980 (2010). Oppression in
 18   the context of employment contracts arises in situations where there is unequal
 19   bargaining power and little meaningful choice. Id., at 980-81. Surprise involves
 20   scenarios where the terms of the bargain are hidden in a long document by a
 21   party in a superior bargaining position. See Roman v. Superior Court, 172
 22   Cal.App.4th 1462, 1470-71 (2009) (holding that whatever “unfairness is inherent” in
 23   the employer-employee relationship was “limited” since “the arbitration provision
 24   was not buried in a lengthy employment agreement[]” and was clearly labeled).
 25         Here, there is no evidence of procedural unconscionability. Doe touted her
 26   “13 years of Senior Management Experience” (including 11 years as an attorney
 27   advising clients on employment law) and “15 years of alternative dispute resolution
 28   experience.” Doe can hardly claim surprise about the existence or the enforceability
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 21 of 31 Page ID
                                 #:2461



  1   of the Agreement — a simple, stand-alone two-page document that is written in
  2   plain English and bears the title: “AGREEMENT TO ARBITRATE CLAIMS”
  3   (Thompson Decl., Ex. B, at p. 1, emphasis in original.) The Agreement clearly states
  4   that the parties are agreeing to arbitrate claims, that “final and binding arbitration
  5   shall be the sole and exclusive remedy for resolving any claims covered by this
  6   Agreement,” and that “any court action” is “hereby expressly waived.” (Id. at ¶ 4.)
  7         Doe alleges that the Agreement is unconscionable because it was “imposed as
  8   a condition of employment” and therefore, “lacks contractual effect because consent
  9   must be free and mutual.” (FAC ¶ 152.) It is well established, however, that “a
 10   compulsory predispute arbitration agreement is not rendered unenforceable just
 11   because it is required as a condition of employment or offered on a ‘take it or leave
 12   it’ basis.” Lagatree v. Luce, Forward, Hamilton & Scripps LLP, 74 Cal.App.4th
 13   1105, 1127 (2000). “To describe a contract as adhesive” is “the beginning and not
 14   the end of the analysis insofar as enforceability of its terms is concerned.” Graham
 15   v. Scissor-Tail, Inc., 28 Cal.3d 807, 819 (1981). “[A] contract of adhesion is fully
 16   enforceable according to its terms unless certain other factors are present which,
 17   under established legal rules—legislative or judicial—operate to render it
 18   otherwise.” Id., at 819-20 (citations omitted); Armendariz, 24 Cal.4th at 114. A
 19   different rule would mean that pre-employment arbitration agreements are never
 20   enforceable, a proposition no California state or federal court has held.
 21         Doe also alleges that the Agreement is procedurally unconscionable because
 22   it “imposes more than notice pleading by requiring identification of the nature of all
 23   claims asserted.” (FAC ¶ 316.) Not so. The Agreement provides that “Employee or
 24   the University must give written notice of any claim to the other party within the
 25   time prescribed by the state or federal statute of limitations applicable to the claim
 26   being made” and that “[t]he written notice shall identify and factually describe the
 27   nature of all claims asserted.” (Thompson Decl., Ex. B, at ¶ 6.) This is no different
 28   from Federal Rule of Civil Procedure 8(a), which requires that a pleading contain “a
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 22 of 31 Page ID
                                 #:2462



  1   short and plain statement of the claim showing that the pleader is entitled to relief.”
  2   See Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009). Under this “notice pleading,”
  3   the complaint must “give the defendant fair notice of what the claim … is and the
  4   grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
  5   And, while Rule 8(a) does not require detailed factual allegations, “it demands more
  6   than an unadorned, the defendant-unlawfully-harmed-me accusation.” Ashcroft, 556
  7   U.S. at 678. In any event, the Agreement’s notice requirement applies to both parties
  8   and, as such, provides no advantage to one party or the other.
  9                       b.    There Is No Substantive Unconscionability.
 10                             (1)   There Is Adequate Discovery.
 11         Substantive unconscionability “focuses on the terms of the agreement and
 12   whether those terms are so one-sided as to shock the conscience.” Kinney v. United
 13   HealthCare Servs., Inc., 70 Cal.App.4th 1322, 1330 (1999). Doe alleges that the
 14   Agreement is substantively unconscionable because it fails to provide employees
 15   with “the full panoply of discovery.” (FAC ¶ 269.) However, as noted above, the
 16   Agreement provides that the Arbitrator “shall afford the parties adequate discovery,
 17   including deposition discovery, taking into account their shared desire to have a fast,
 18   cost-effective dispute-resolution mechanism.” (Thompson Decl., Ex. B, at ¶ 8.)
 19   JAMS Rules provide a comprehensive process for the exchange of information and
 20   documents and empowers the Arbitrator to allow such additional discovery as
 21   appropriate “based upon the reasonable need for the requested information.” (Lin
 22   Decl., Ex. I, Rule 17.) California law requires nothing more. As the California
 23   Supreme Court has recognized, discovery limitations are an integral part of
 24   arbitration and the parties may contractually agree to less than “the full panoply of
 25   discovery.” Armendariz, 24 Cal.4th at 105-06. Parties to arbitration are only entitled
 26   to discovery “necessary to vindicate [their] claim[s].” Id. at 106; see also Dotson,
 27   181 Cal.App.4th at 983 (“[A]rbitration is meant to be a streamlined procedure.
 28   Limitations on discovery . . . is one of the ways streamlining is achieved.”).
                                              22
              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 23 of 31 Page ID
                                 #:2463



  1         Doe further alleges that discovery would be inadequate because USC
  2   allegedly has a practice of misconduct in its internal workplace investigations,
  3   spoliates evidence, and withholds documents in discovery. (FAC ¶¶ 146-150, 193-
  4   314.) Not only are these allegations patently false, they are irrelevant to the issue of
  5   whether substantive unconscionability exists. The Agreement and JAMS Rules
  6   provide for adequate discovery that both parties may need to pursue their claims
  7   and/or defenses. To the extent that any party engages in misconduct during the
  8   proceeding, the Arbitrator is fully empowered to address such situations by way of
  9   sanctions. (Lin Decl. Ex. I, Rule 29) (“The Arbitrator may order appropriate
 10   sanctions for failure of a Party to comply with its obligations under any of these
 11   Rules or with an order of the Arbitrator. These sanctions may include, but are not
 12   limited to assessment of … any other costs occasioned by the actionable conduct,
 13   including reasonable attorneys' fees; exclusion of certain evidence; drawing adverse
 14   inferences; or, in extreme cases, determining an issue or issues submitted to
 15   Arbitration adversely to the Party that has failed to comply.”) 7
 16                              (2)   JAMS Is A Neutral Arbitral Forum.
 17         Doe alleges that the Agreement fails to provide a neutral forum because USC
 18   is a “repeat player” and JAMS and USC had a contract for provision of Title IX
 19   hearing officers. (FAC ¶¶ 101, 335.) These assertions are a repackaging of the
 20   “repeat player” argument that the California Supreme Court has rejected as
 21
 22   7
        If, however, the Court finds the discovery provisions of the Agreement are
 23   somehow unconscionable, it has the power to reform the agreement to provide for
      full discovery, as Plaintiff concedes. (FAC ¶ 340) (“…Plaintiff seeks to reform the
 24   arbitration agreement to provide for [] full discovery.”) The Agreement provides
 25   that “[i]f any provision [] is determined to be void or otherwise unenforceable, this
      determination shall not affect the validity of the remainder of the Agreement.”
 26   When an agreement contains such a severability clause, the Court may sever a term
 27   it finds unenforceable, as long as the agreement as a whole is not ‘permeated’ with
      unconscionability.” See Poublon, 846 F.3d at 1274 (severance term “makes clear
 28   that the parties intended for any invalid portion of the agreement to be restricted”).
                                              23
              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 24 of 31 Page ID
                                 #:2464



  1   “generally uncognizable” because courts “may not presume categorically that
  2   arbitrators are ill-equipped to disregard such institutional incentives and rule fairly
  3   and equitably.” Sandquist v. Lebo Auto., Inc., 1 Cal.5th 233, 259 (2016).
  4         Doe further alleges that JAMS is not neutral because USC and JAMS have a
  5   mutually beneficial relationship in that (1) many of JAMS arbitrators are graduates
  6   of USC; (2) JAMS arbitrators share in the profits from USC through arbitration fees;
  7   (3) JAMS and USC’s law school (“Gould”) host educational symposiums; (4) USC
  8   changed its dispute resolution provider from AAA to JAMS in 2018; (5) USC
  9   alumnus Richard Chernick pledged a legacy gift to his alma mater, serves on an
 10   educational advisory board, is/was a USC lecturer; and (6) at one time, JAMS
 11   provided Title IX hearing officers. (FAC ¶¶ 95-101, 322-336.) To argue that these
 12   factors should preclude enforcement of the Agreement, Doe cites Monster Energy
 13   Company v. City Beverages, LLC, 940 F.3d 1130, 1136 (9th Cir. 2019), where the
 14   Ninth Circuit vacated an arbitration award based on the Arbitrator’s failure to
 15   disclose facts that “create[d] an impression of bias, and should have been disclosed
 16   by him, namely, that he held an equity interest in JAMS itself and that JAMS had
 17   administered 97 arbitrations “for” one of the parties over the previous five years,
 18   which constituted “an average rate of more than one arbitration per month.”
 19         The Ninth Circuit’s opinion in Monster Energy is inapposite. First, it only
 20   addresses the disclosures a potential arbitrator must make prior to and during
 21   arbitration. It does not condone the so-called “repeat player effect” as a basis not to
 22   enforce an arbitration agreement. Second, the 13 employment arbitrations JAMS has
 23   conducted in which USC was a respondent is orders of magnitude less than the 97
 24   arbitrations at issue in Monster Energy. Third, on remand, the district court ordered
 25   the parties in the Monster Energy matter to arbitrate their dispute before JAMS.
 26   Monster Energy Company v. City Beverages, LLC, No. 5:17-cv-00295-RGK-KK,
 27   2021 WL 650275 at *3 (C.D. Cal. February 17, 2021).
 28         Finally, the FAC alleges California Code of Civil Procedure §§ 1281.92 and
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 25 of 31 Page ID
                                 #:2465



  1   170.5 disqualify JAMS because it co-hosts an annual educational symposia with
  2   Gould and Chernick sits on Gould’s ADR Program Advisory Board. Not so. Section
  3   1281.91 only prohibits JAMS from administrating arbitrations if it has a “financial
  4   interest” in USC as defined by Section 170.5. However, Section 170.5(b)(2)
  5   explicitly states that “[a]n office in an educational, religious, charitable, fraternal, or
  6   civic organization is not a ‘financial interest’ in securities held by the organization.”
  7   In other words, activities involving educational symposia, the ADR Program
  8   Advisory Board, or other educational pursuits are not grounds to disqualify JAMS.
  9                              (3)   The Franken Amendment Is Not A Defense To
 10                                    Arbitration.
 11         The FAC alleges that the Agreement is void because it excludes claims
 12   “brought under Title VII” but not under state discrimination claims and thus violates
 13   the “Franken Amendment” to the Defense Appropriations Act of 2010. (FAC ¶¶
 14   154-162, 178-192.) This is a red herring. By its plain language, the Franken
 15   Amendment only regulates how the Department of Defense appropriates funds, and
 16   does not create a defense to arbitration by private civil litigants. 48 C.F.R. §§
 17   222.7402, 222.7403 (prohibits the Department of Defense from awarding contracts
 18   for over $1 million to any contractor who “requires … that the employee or
 19   independent contractor agree to resolve through arbitration any claim under Title
 20   VII … or any tort related to or arising out of sexual assault or harassment”).
 21         Doe alleges that the Agreement is unconscionable because it uses the phrase
 22   “tort claims” instead of the phrase “any tort,” and “claims” is a “limiting modifier.”
 23   (FAC ¶¶ 179-184.) This argument is specious. “Any tort” and “tort claims” is a
 24   distinction without a difference. “Claims” is defined as “[t]he assertion of an
 25   existing right; any right to payment or to an equitable remedy, even if contingent or
 26   provisional” and, on its face, is not limiting. Black’s Law Dictionary (11th ed. 2019)
 27   (emphasis added). Moreover, contract interpretation requires that a “contract must
 28   receive such an interpretation as will make it lawful, operative, definite, reasonable,
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               DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                   AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 26 of 31 Page ID
                                 #:2466



  1   and capable of being carried into effect.” Cal. Civ. Code § 1643.
  2         Doe’s contention that the Agreement should explicitly reference the Franken
  3   Amendment is equally meritless. (FAC ¶¶ 187-188.) There is no requirement that a
  4   contract cite the law that is the basis for its language. Indeed, doing so would
  5   convolute the Agreement and risk confusing unsophisticated employees.
  6         In any event, the Agreement is consistent with the Franken Amendment as it
  7   specifically excludes from arbitration “claims brought under Title VII of the Civil
  8   Rights Act of 1964,” as well as “tort claims (e.g., assault and battery, intentional
  9   infliction of emotional distress, false imprisonment or negligent hiring, supervision
 10   or retention) if they are related to or arising out of sexual assault or sexual
 11   harassment.” (Thompson Decl., Ex. B, at ¶ 3.)
 12         Further, contrary to Doe’s suggestion that FEHA is but an extension of Title
 13   VII, it is well recognized that they are separate statutory schemes. While California
 14   courts look to federal decisions under Title VII for assistance in interpreting
 15   analogous provisions of FEHA, they depart from federal precedent where they
 16   believe federal decisions to be in error, or the two statutes differ. See, e.g., Romano
 17   v. Rockwell Int’l, Inc., 14 Cal.4th 479, 496-500 (1996) (rejecting federal case law
 18   regarding when statute of limitations begins to run “because they interpret a federal
 19   statutory scheme [Title VII] not at issue here”); see also Page v. Superior Court, 31
 20   Cal.App.4th 1206, 1215-17 (1995) (“[I]t is not appropriate to follow federal
 21   decisions where the distinct language of FEHA evidences a legislative intent
 22   different from that of Congress.”)8
 23   8
       Plaintiff cites California Labor Code sections 432.4 through 432.6 and California
 24   Government Code section 12953, which codified AB 51 and were enacted by the
 25   California legislature to bar pre-employment arbitration agreements. (FAC ¶¶ 162,
      165-167.) Plaintiff’s reliance is misplaced for several reasons. First, this statutory
 26   scheme only applies to “contracts for employment entered into, modified, or
 27   extended on or after January 1, 2020.” Cal. Lab. Code § 432.6 (h) (emphasis
      added). USC and Plaintiff entered into this Agreement in February 2018. Second,
 28
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 27 of 31 Page ID
                                 #:2467



  1                              (4)   Class and Collective Action Waivers Are Permissible.
  2         Doe alleges that the Agreement is substantively unconscionable because it
  3   waives an employee’s right to bring a class or collective action in court or in
  4   arbitration. (FAC ¶ 319.) This is immaterial as Doe has dismissed her class claim. In
  5   any event, it is well established that state rules that prohibit class or collective action
  6   waivers are preempted by the FAA and are permissible. Epic Systems Corp., 138
  7   S.Ct. at 1623 (the U.S. Supreme Court held that arbitration agreements containing
  8   class and collective action waivers are enforceable); Asfaw v. Lowe’s HIW, Inc., No.
  9   LA CV14-00697 JAK, 2014 WL 1928612, at *9 (C.D. Cal. May 13, 2014)
 10   (Kronstadt, J.), citing AT&T Mobility LLC, 563 U.S. 333 at 352.) 9
 11                2.     Doe Cannot Show That Her Consent Was Obtained By Fraud.
 12         The FAC cites various California statutes for the proposition that the
 13   Agreement is “subject to rescission” based on fraud. (FAC ¶¶ 124.) Doe’s argument
 14   lacks any support and, in any event, is meritless. “In order to defeat a petition to
 15   compel arbitration [based on a claim of fraud], the parties opposing a petition to
 16   compel must show that the asserted fraud claim goes specifically ‘to the “making”
 17   of the agreement to arbitrate[.]’” Engalla v. Permanente Med. Grp., Inc., 15 Cal.4th
 18   951, 973 (1997) (holding that the plaintiff established fraud where the purported
 19   misrepresentation is “material” such that “a reasonable [person] would attach
 20   importance to its existence or nonexistence in determining his choice of action in
 21
 22   these codes are not “intended to invalidate a written arbitration agreement that is
 23   otherwise enforceable under the Federal Arbitration Act.” See Cal. Lab. Code §
      432.6(f). Finally, enforcement of AB 51 has been enjoined by the federal courts on
 24   the basis of federal preemption. See Chamber of Commerce of United States v.
 25   Becerra, 438 F.Supp.3d 1078, 1097 (E.D. Cal. 2020) (“[T]he rule runs afoul of the
      federal law by contravening the equal footing principle.”).
 26   9
        Plaintiff also alleges that the Agreement is unconscionable because “it appears to
 27   impose a class waiver even as to claims that [it] excludes from arbitration.” (Compl.
      ¶ 259.) This is not true. The Agreement specifies that the class waiver only applies
 28   “[t]o the maximum extent permitted by law.” (Thompson Decl. Ex. B, at pp. 1-2.)
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 28 of 31 Page ID
                                 #:2468



  1   the transaction in question”) (emphasis added).
  2         This is not what Doe has alleged. The crux of Doe’s allegations is that USC’s
  3   Code of Ethics secured USC “a reputation as an ethical and reputable institute of
  4   higher learning” and Doe “would not have sought to work for Defendant” but for
  5   this reputation. (FAC ¶¶ 172-177.) In short, the fraud argument fails because there is
  6   “no evidence of any false representations concerning any contemplated arbitral
  7   proceedings that w[ould] result from the arbitration [agreement].” See Larian v.
  8   Larian, 123 Cal.App.4th 751, 765 (2004) (reversing trial court’s denial of motion to
  9   compel arbitration and holding that the Plaintiff’s allegations of misrepresentations
 10   were to be “resolved in the arbitral forum” because there was “no evidence of fraud
 11   in the inception or execution of the agreement as it relates to the arbitration
 12   clause”) (emphasis added). The Agreement is a two-page, stand-alone contract that
 13   expressly states that it “supersedes any prior or contemporaneous agreement.” It
 14   makes no reference to the Code of Ethics. It appears that the Doe found the Code of
 15   Ethics—most recently revised in 2014 (more than 4 years before Doe’s offer of
 16   employment)—on her own online at https://policy.usc.edu/ethics/. (Thompson Decl.
 17   ¶ 4, Ex. D.) Moreover, the Code of Ethics does not purport to set forth contractual
 18   promises or contain any representations that are material to the Agreement.
 19         More to the point, no reasonable person—much less a “licensed attorney”
 20   such as Doe who spent over 11 years advising clients on employment law and 15
 21   years in alternative dispute resolution—would rely on such generalized aspirational
 22   statements in deciding whether to enter into a pre-employment arbitration
 23   agreement. See CACI 1908 – Reasonable Reliance (“reasonableness must take into
 24   account the plaintiff’s own intelligence, knowledge, education, and experience”)
 25   (citing Blankenheim v. E. F. Hutton, Co., Inc., 217 Cal.App.3d 1463, 1474 (1990));
 26   Guido v. Koopman, 1 Cal.App.4th 837, 843 (1991) (finding it unreasonable for a
 27   “practicing attorney [who] uses releases in her practice” to claim that she relied on
 28   false representations by an equestrian instructor concerning a written release).
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 29 of 31 Page ID
                                 #:2469



  1         Doe’s claim of reliance on general statements in a Code of Ethics in deciding
  2   whether she would agree to arbitrate any future claims against USC is absurd given
  3   the nature of a Code of Ethics. As the Ninth Circuit explained in Retail Wholesale &
  4   Dep’t Store Union Local 338 Ret. Fund v. Hewlett-Packard Co., 845 F.3d 1268,
  5   1275 (9th Cir. 2017) (in the context of securities fraud), the contents of a business
  6   code of ethics are “aspirational” and thus not material to a stockholder’s decision-
  7   making. Similarly, in Desai v. General Growth Props., Inc., 654 F.Supp.2d 836, 857
  8   (N.D. Ill. 2009), the court determined that a company’s publication of a Code of
  9   Ethics “is not actionable.” Doe’s purported reliance on the Code of Ethics in
 10   connection with the Agreement is not reasonable as a matter of law.
 11                3.     Doe Cannot Show That Enforcing The Agreement Would Be
 12                       Prejudicial To The Public Interest.
 13         For the rescission claim, Doe alleges, pursuant to California Civil Code
 14   section 1689(b)(6), that “the public interest will be prejudiced by permitting the
 15   contract to stand.” (FAC ¶¶ 315-321.) Doe relies on the same allegations on which
 16   she bases the contention that the Agreement is unconscionable. As explained above
 17   in Section III(D)(1), these allegations are meritless and fail to satisfy Doe’s burden
 18   of establishing that the Agreement should not be enforced.
 19         Moreover, there is no indication that enforcing the Agreement would harm
 20   the public. The Agreement (and its enforcement) only affects Doe. There are no
 21   potential health, environmental, financial, or governmental concerns implicated by
 22   the Agreement. To the contrary, the greater public interest here is to encourage the
 23   efficient dispute resolution through arbitration. Indeed, public policy strongly favors
 24   the enforcement of arbitration agreements. Southland Corp. v. Keating, 465 U.S. 1,
 25   10 (1984) (“Congress declared a national policy favoring arbitration and withdrew
 26   the power of the states to require a judicial forum for the resolution of claims which
 27   the contracting parties agreed to resolve by arbitration.”); Republic of Nicaragua v.
 28   Standard Fruit Co., 937 F.2d 469, 475, fn. 8 (9th Cir. 1991) (“The [FAA] ... reflects
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              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 30 of 31 Page ID
                                 #:2470



  1   the strong Congressional policy favoring arbitration.”)10
  2          As for Doe’s sixth cause of action for “rescission and/or avoidance and/or
  3   UCL § 17200 Injunction,” the Ninth Circuit has already held that California’s rule
  4   exempting such claims for public injunctive relief from arbitration is preempted and
  5   “displaced by the FAA.” Ferguson, Inc., 733 F.3d at 934-937 (2013).
  6         Moreover, the rule established in McGill v. Citibank, N.A, 2 Cal.5th 945
  7   (2017) (the “McGill Rule”) does not apply to Doe’s claims because the Agreement
  8   does not prohibit injunctive relief “in any forum.” McGill, 2 Cal.5th at 961. It only
  9   requires the claim be submitted to arbitration. In any event, Doe has not stated a
 10   claim for public injunctive relief, as required in McGill. “Public injunctive relief ‘is
 11   for the benefit of the general public rather than the party bringing the action.’”
 12   Kilgore v. KeyBank, Nat. Ass’n, 718 F.3d 1052, 1061 (2013). “Relief that has the
 13   primary purpose or effect of redressing or preventing injury to an individual
 14   plaintiff—or to a group of individuals similarly situated to the plaintiff—does not
 15   constitute public injunctive relief.” McGill, 2 Cal.5th at 955 (emphasis added); see
 16   also Magana v. DoorDash, Inc., 343 F.Supp.3d 891, 901 (N.D. Cal. 2018) (holding
 17   that injunctive relief sought for misclassification claims alleging violations of the
 18   California Labor Code was not a “public” injunction, as the claims had the “primary
 19   purpose and effect of redressing and preventing harm to [defendant’s] employees”
 20   and any benefit to the public would only be derivative and ancillary to that benefit).
 21   Accord, Torrecillas v. Fitness Int’l, LLC, 52 Cal.App.5th 485, 500 (2020) (holding
 22
      10
 23     Plaintiff alleges that the Agreement is “null and void” under Civil Code section
      1668, which prohibits contracts that exempt individual responsibility for a violation
 24   of law. (FAC ¶ 148.) Not so. Section 1668 is inapplicable because the Agreement
 25   complies with Armendariz and is not procedurally or substantively unconscionable.
      See Armendariz, 24 Cal.4th at 100 (setting minimum requirements for arbitration
 26   agreements in the employment context, in part, on the policies embodied in section
 27   1668); Stirlen v. Supercuts, Inc., 51 Cal.App.4th 1519, 1530 (1997) (“We need not
      separately address the question whether the restriction on employee remedies is
 28   ‘against the policy of the law’ within the meaning of [section 1668]”).
                                              30
              DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                  AND DISMISS OR STAY ACTION
Case 2:20-cv-06098-JAK-AGR Document 55-1 Filed 06/03/21 Page 31 of 31 Page ID
                                 #:2471



  1   that plaintiff’s request for an injunction to stop defendant from failing to pay wages
  2   or reimburse for business expenses was “private in nature and therefore arbitrable”
  3   because the “beneficiary ... would be [plaintiff] and possibly Fitness’s current
  4   employees, not the public at large.”) Here, Doe seeks a remedy which benefits
  5   herself. This is made all the clearer by Doe’s dismissal of her class claim.
  6          E.     This Action Should Be Dismissed Or Stayed Pending Arbitration.
  7          Section 3 of the FAA provides that “upon being satisfied that the issue
  8   involved in [a] suit . . . is referable to arbitration . . . , [a court] shall on application
  9   of one of the parties stay the trial of the action until such arbitration has been had.”
 10   9 U.S.C. § 3. The FAA “does not limit the court’s authority to grant a dismissal” of
 11   a case “when all claims are barred by an arbitration clause.” Sparling v. Hoffman
 12   Constr. Co., Inc., 864 F.2d 635, 638 (9th Cir. 1988) (holding that the “district court
 13   acted within its discretion when it dismissed” the case, since “the arbitration clause
 14   [at issue] was broad enough to” require the plaintiffs “to submit all claims to
 15   arbitration”). See also Hebei Hengbo New Materials Tech. Co. v. Apple, Inc., 344
 16   F.Supp.3d 1111, 1118 (N.D. Cal. 2018) (“If all claims in litigation are subject to a
 17   valid arbitration agreement, the court may dismiss or stay the case.”)
 18          Here, the Agreement is valid and all of Doe’s claims are subject to arbitration.
 19   Accordingly, the Court should dismiss or stay this action.
 20   IV.    CONCLUSION
 21          USC respectfully requests that the Court issue an order compelling arbitration
 22   of the claims of Plaintiff “DOE” and dismissing the FAC with prejudice or, in the
 23   alternative, staying this action pending the completion of arbitration.
 24
 25   DATED: June 3, 2021                   YOUNG & ZINN LLP
                                            By: /s/ Vicky H. Lin
 26                                              VICKY H. LIN
 27                                              Attorneys for Defendant UNIVERSITY
                                                 OF SOUTHERN CALIFORNIA
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               DEFENDANT’S MPA ISO MOTION TO COMPEL ARBITRATION OF PLAINTIFF’S FAC
                                   AND DISMISS OR STAY ACTION
